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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  PIKEVILLE DIVISION

CIVIL NO. 14-32-ART


LARRY MULLINS                                                                         PLAINTIFF


VS.                        NOTICE OF VOLUNTARY DISMISSAL


ENCORE CAPITAL GROUP, INC, ET AL.                                                 DEFENDANTS

                                    ***************

       Comes now the Plaintiff, Larry Mullins, by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), states as follows:

   1. All matters herein have been resolved;

   2. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), the Plaintiff voluntarily dismisses the above-

       captioned proceeding, with prejudice.

   This the 29th day of April, 2014.

                                                                               /s/ Noah R. Friend
                                                                 Noah R. Friend Law Firm, PLLC
                                                                                    P.O. Box 610
                                                                             Pikeville, KY 41502
                                                                            Phone: 606.437.2217
                                                                           Mobile: 606.369.7030
                                                                               Fax: 502.716.6158
                                                                       noah@friendlawfirm.com


                                     CERTIFICATE OF SERVICE

       I hereby certify that on April 29th, 2014 I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system.
       By: /s/ Noah R. Friend
              Noah R. Friend
